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                                                                                                      E-FILED
                                                                            Monday, 16 April, 2018 12:59:36 PM
                                                                                 Clerk, U.S. District Court, ILCD

                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE CENTRAL DISTRICT OF ILLINOIS

STEVEN D. LISLE, JR.,                                         )
                                                              )
                      Plaintiff,                              )
                                                              )         Case No. 17-CV-1158
       vs.                                                    )
                                                              )              JURY DEMAND
JOHN BALDWIN, et al.,                                         )
                                                              )
                      Defendant.                              )

                          ANSWER AND AFFIRMATIVE DEFENSES

       NOW COME Defendants, MELVIN HINTON and DAIDRA MARANO, by and through

their attorney, LISA MADIGAN, Illinois Attorney General, and pursuant to the Court’s Merit

Review Order of July 12, 2017 [Doc. 24], provides the following Answer and Affirmative

Defenses to Plaintiff’s Amended Complaint, [Doc. 25], stating as follows:

   ALLEGATIONS ENUMERATED IN COURT ORDER DATED JULY 12, 2017 [DOC. 24]

   1. Pursuant to its merit review of the Plaintiff’s Amended Complaint under 28 U.S.C. §

1915(A), the Court found that Plaintiff stated an Eighth Amendment claim for deliberate

indifference to his serious medical needs against Defendants, MELVIN HINTON and DAIDRA

MARANO.

   2. ANSWER: Defendants admit that the complaint states a claim under 42 U. S. C. § 1983,

but deny that any violation of Plaintiff's Eighth Amendment rights or any other constitutional

rights occurred.

                                      REQUESTED RELIEF

       1. Defendants deny that Plaintiff is entitled to compensatory damages.

       2. Defendants deny that Plaintiff is entitled to punitive damages.

       3. Defendants deny that Plaintiff is entitled to any other relief.
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                                          JURY DEMAND

        Defendants respectfully request trial by jury.

                                     AFFIRMATIVE DEFENSES

        1.      At all times relevant herein, Defendants acted in good faith in the performance of

their official duties and without violating Plaintiff’s clearly established statutory or

constitutional rights of which a reasonable person would have known. Defendants are therefore

protected from suit by the doctrine of qualified immunity.

        2.      To the extent that Plaintiff is suing Defendants for injunctive relief that is not

intended to address ongoing constitutional violations, the Eleventh Amendment and the

doctrine of sovereign immunity bar such claims.

        3.      To the extent that Plaintiff is suing Defendants for actions of a subordinate in

which Defendants were not directly involved, such claims are barred because the doctrine of

respondeat superior is not a basis for liability under 42 U.S.C. § 1983. See Gentry v. Duckworth, 65

F.3d 555, 561 (7th Cir. 1995).

        4.      To the extent Plaintiff seeks damages from Defendants in their official capacity,

Defendants are protected from liability by the Eleventh Amendment.

        5.      To the extent Plaintiff has failed to adhere to the Illinois Department of

Corrections grievance procedures, his claim should be barred for failure to exhaust his

administrative remedies prior to the initiation of this cause of action, which serves as a bar to

Plaintiff’s claims by the Prison Litigation Reform Act (42 U.S.C. § 1997) and Perez v. Wisconsin

Dept. of Corrections, 182 F. 3ed 532 (7th Cir. 1999).

        6.      To the extent Plaintiff’s claim is more than two years old, it is barred by the

applicable statute of limitations.




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       WHEREFORE, Defendants request that this Honorable Court enter judgment in their

favor and against Plaintiff, STEVEN D. LISLE, JR.

 Dated: April 16, 2018                        Respectfully submitted,

 Lisa Madigan
 Attorney General of the State of Illinois    By:   s/ Alan Remy Taborga
 Counsel for Defendants,                            Alan Remy Taborga
 JOHN BALDWIN, MELVIN HINTON,                       Assistant Attorney General
 And DAIDRA MARANO                                  Office of the Illinois Attorney General
                                                    1776 East Washington Street
                                                    Urbana, Illinois 61802
                                                    Phone: (217) 278-3332
                                                    E-Mail: ATaborga@atg.state.il.us




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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE CENTRAL DISTRICT OF ILLINOIS


STEVEN D. LISLE, JR.,                                              )
                                                                   )
                         Plaintiff,                                )
                                                                   )          Case No. 17-CV-1158
       vs.                                                         )
                                                                   )
JOHN BALDWIN, et al.,                                              )
                                                                   )
                         Defendant.                                )

       I hereby certify that on April 16, 2018, I electronically filed the foregoing Answer and

Affirmative Defenses to Plaintiff’s Amended Complaint, with the Clerk of Court using the CM/ECF

system, and I hereby certify that on that same date, I caused a copy of same to be mailed by

United States Postal Service, in an envelope fully prepaid and properly addressed, to the

following participant:

                                 Steven D. Lisle, Jr., # R-40159
                                 Pontiac Correctional Center
                                 P.O. Box 99
                                 Pontiac, IL 61764



                                                           Respectfully submitted,

                                                           By:         s/ Alan Remy Taborga
                                                                       Alan Remy Taborga
                                                                       Assistant Attorney General
                                                                       Office of the Illinois Attorney General
                                                                       1776 East Washington Street
                                                                       Urbana, Illinois 61802
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